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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                v.                              :       Case No. 22-mj-22
                                                :
ILYA LICHTENSTEIN, and                          :
                                                :
HEATHER MORGAN,                                 :
                                                :
                Defendants.                     :

                     PROTECTIVE ORDER GOVERNING DISCOVERY

        To expedite the flow of discovery material between the parties and adequately protect
personal identity information entitled to be kept confidential, it is, pursuant to the Court=s authority
under Fed. R. Crim. P. 16(d)(1) and with the consent of the parties, ORDERED:
                                            All Materials
        1.      All materials provided by the United States in preparation for, or in connection
with, any stage of this case (collectively, “the materials”) are subject to this protective order (“the
Order”) and may be used by the defendant and defense counsel (defined as counsel of record in
this case) solely in connection with the defense of this case, and for no other purpose, and in
connection with no other proceeding, without further order of this Court.
       2.      The defendant and defense counsel shall not disclose the materials or their contents
directly or indirectly to any person or entity other than persons employed to assist in the defense,
persons who are interviewed as potential witnesses, counsel for potential witnesses, and other
persons to whom the Court may authorize disclosure (collectively, “authorized persons”).
Potential witnesses and their counsel may be shown copies of the materials as necessary to
prepare the defense, but they may not retain copies without prior permission of the Court.

        3.      The defendant, defense counsel, and authorized persons shall not copy or reproduce
the materials except in order to provide copies of the materials for use in connection with this case
by defendant, defense counsel, and authorized persons.       Such copies and reproductions shall be
treated in the same manner as the original materials.          The defendant, defense counsel, and
authorized persons shall not disclose any notes or records of any kind that they make in relation to
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the contents of the materials, other than to authorized persons, and all such notes or records are to
be treated in the same manner as the original materials.
       4.        Before providing materials to an authorized person, defense counsel must provide
the authorized person with a copy of this Order.
       5.        Upon conclusion of all stages of this case, all of the materials and all copies made
thereof shall be destroyed or returned to the United States, unless otherwise ordered by the Court.
The Court may require a certification as to the disposition of any such materials.
       6.        The restrictions set forth in this Order do not apply to documents that are or become
part of the public court record, including documents that have been received in evidence at other
trials, nor do the restrictions in this Order limit defense counsel in the use of the materials in
judicial proceedings in this case, except as described below.
                                         Sensitive Materials
       7.        The United States may produce materials containing personal identity information
as identified in Rule 49.1 of the Federal Rules of Criminal Procedure (“sensitive materials”) to
defense counsel, pursuant to the defendants’ discovery requests. Sensitive materials shall be
plainly marked as “sensitive” by the United States prior to disclosure.
       8.        No sensitive materials, or the information contained therein, may be disclosed to
any persons other than the defendant, defense counsel, persons employed to assist the defense, or
the person to whom the sensitive information solely and directly pertains, without prior notice to
the United States and authorization from the Court.        Absent prior permission from the Court,
information marked as sensitive shall not be included in any public filing with the Court, and
instead shall be submitted under seal (except if the defendant chooses to include in a public
document sensitive information relating solely and directly to the defendant).
       9.        Sensitive materials must be maintained in the custody and control of defense
counsel.     Defense counsel may show sensitive materials to the defendant as necessary to assist in
preparation of the defense, however, defense counsel may not provide a copy of sensitive materials
to the defendant.    Moreover, if defense counsel does show sensitive materials to the defendant,
defense counsel may not allow the defendant to write down any personal identity information as
identified in Rule 49.1 of the Federal Rules of Criminal Procedure that is contained in the sensitive
materials.    If the defendant takes notes regarding sensitive materials, defense counsel must



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inspect those notes to ensure that the defendant has not copied down personal identity information
as identified in Rule 49.1 of the Federal Rules of Criminal Procedure.
         10.    The procedures for use of designated sensitive materials during any hearing or the
trial of this matter shall be determined by the parties and the Court in advance of the hearing or
trial.   No party shall disclose designated confidential documents in open court without prior
consideration by the Court.
         11.    The Clerk shall accept for filing under seal any filings so marked by the parties
pursuant to this Order.
                                        Scope of this Order
         12.    Modification Permitted.      Nothing in this Order shall prevent any party from
seeking modification of this Order or from objecting to discovery that it believes to be otherwise
improper.
         13.    No Waiver.     The failure by the United States to designate any materials as
“sensitive” upon disclosure shall not constitute a waiver of the United States’ ability to later
designate the materials as sensitive.
         14.    No Ruling on Discoverability or Admissibility. This Order does not constitute
a ruling on the question of whether any particular material is properly discoverable or admissible
and does not constitute any ruling on any potential objection to the discoverability of any material.


         SO ORDERED this _____ day of __________, 2022.



                                              _____________________________________
                                              THE HON. ROBIN M. MERIWEATHER
                                              UNITED STATES MAGISTRATE JUDGE




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